CaS€ 6218-CV-00846-PGB-DC|

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lN THE ClRCUlT COUR'|` ()l" 'I`H[:` NlNTH
. .IUDIClAL CIRCUIT, lN AND I"OR
ORANGE COUNTY. FLORIDA

 

CASE NO.:

LESTER SPENCER,

Plaintifl`,
vs.
ZURICH AMER!CAN lNSURAl\‘Cl:`,
COMPANY, ~

Defendant.

/
COMPLAIN'I`

The Plaintif`i`. I.ES'I'ER SPENCER, sues the Defendant, ZURICH AMERICAN

INSURANCE COMPANY, and alleges:

l.

This is an action for damages in excess of Fifteen Thousand Do|lars ($|5,000.00), arising
in Orangc County, Florida.

At all times material hereto, LyPt, lnc. was a foreign corporation doing business in the State
of Florida with its principal place of business located in San Francisco, California.

At all times material hereto, ZURICH AMERICAN INSURANCE COMPANY was a
foreign for profit corporation authorized to do business in Florida, with its principal place of
business in Schaumberg, lllinois.

On or about June l l, 201 7, the Plaintii'f was a passenger in a motor vehicle at the
intersection of N. Orange Blossom Trail and Clarcona Ocoee Rd. in Orange County.
Florida.

At that time and place, the vehicle Plaintiff was a passenger in was negligently rear-ended

by an uninsured motorist, Lentwain Bryan Harley.

 

 

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6.

At the time oftllc subject cmsh, the vehicle that Plaintii`f was a passenger in was operating
as a vehicle for hire under LyR, Inc.

As Lcntwain Bryan Harlcy was uninsured, there was no bodily injury coverage available

to fully compensate the Plaintiff for the losses and damages incurred; thereby creating an

uninsured motorist claim.

At all times material hcreto, Lyii. lnc. was insured by the Defendant, ZURICH'
AMERICAN iNSURANCL". COMPAN"Y, and on the date of` the subject accident. had in full

force and effect a policy of automobi le insurance providing unisured motorist coverage, which

would inure to the benefit of Plaintiff, [.ESTER SPENCER, while a passenger in a vehicle

operating as a vehicle for hire under Lyii, lnc. at the time of the subject crash.

Said policy is in the possession of Defendant, ZUR|CH AMERICAN l'NSURANCE

COMPANY. A copy of the declaration page of the applicable policy is attached hereto as

Exhibit “A”.

lO. Tlie Plaintiff has met all conditions precedent to maintain this uninsured motorist claim.

ll.

There is no dispute whether the insurance policy provides the uninsured motorist coverage

alleged herein.

12. Def`cnclant, ZUR[CH AMERICAN lNSURANCE COMPANY, has failed to pay Plaintifi`s

uninsured motorist coverage benefits in violation of the agreement for insurance

13. Det`endant. ZUR[CH AMERICAN INSURANCE COMPANY, has breached the contract

of uninsured motorist coverage to Plaintii`f.

14. Altematively, should the Defcndant, ZURICH AMERICAN lNSURANCE COMPANY.

dispute whether there exists uninsured motorist coverage between the Plaintift` and
Def`endant, the Plaintift`has been required to retain the services of the undersigned attorneys
to represent and protect the Plaintit`t’ s interests and entitlement to said insurance coveragc,

and thc plaintiff is obligated to pay the attorneys a reasonable fcc for their services;

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15.

16.

therefore, Plaintiff` requests that a reasonable attomey's fee be awarded upon recovery
pursuant to florida Statute 627.428. n

As a direct and proximate result of the above-mentioned accident, the Plaintiff, LESTER
SPENCER, has suffered permanent bodily injury and resulting pain and suffering.
disability, disfigurement, mental anguisb, loss of capacity for the enjoyment of lit`e,
medical care and treatment, and the aggravation ot`a previously existing condition, if eny.
These losses are either permanent or continuing within a reasonable degree oi` medical
probability, and Plaintift`, LESTER SPENCER, will continue to suffer these losses in the
futurc.

The Plaintiff further requests prejudgment interest at the legal rate on all amounts incurred for
healthcare, doctor and/or nursing expenses, as well as any other economic damages and on
any other liquidated expenses incurred as a result of the aforesaid injuries.

WHEREFORE, the Plaintifl`, LESTER SPENCER, demands judgment against the

Defendant. ZURlCH AMERICAN INSURANCE COMPANY, for compensatory damages in excess

of Fif"teen 'I`housand Dollars ($15,000.00) exclusive ot' costs and interest together with costs and

prejudgment interest for that portion of the compensatory damages which have been previously

liquidated, and any other relief to which the Plaintiff may be entitled, and the Plaintifi' demands a

trial byjury of all issues so triable.

Dated this¢g §“l day ofMarch, 2018.
-~ "T~/_'.'TTJ

.A~//' /

/cmod M. Paul, F.sq.

FBN: 92953

The Law Oflices of .lerrod Paul, P.A.

37 N. Orangc Ave. Suite 500

Orlando, FL 3280l

Phone: (407) 588-0343

Fax: (855) 862-6872

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. ZURICH
COMMON FOL|CY DECLARAT|ONS
Po|icy Numbdr BAP 4281454-~01 Flenewzi aiNumber BAP 4281454--00
Named insured and Mailing Addiess Produoer and Mai|ing Address
LYFT, INC. _ M.ARSI'| R'lSK & INSURANCB SERVICES
1(S`E‘.El NAMED II\SU'RFLD END'I`) 345 CALIFORNIA S'l' S'I`E‘, 1300
l&E~ BERRY ST SAN FRANCISCO Clt 94104-?.652

SUITE 5000
SAN FRANCISCO CA 94107-5701)
Producer Cocie `/ 000 3 - 0 0 C

Po|icy Period: Coverage begins 10-01-2016 at 12:01 A.M; Coverage ends 10-01~20;'/ at 12:01 AM
Tne name insured is E individual l:l Paltnership Corporation

m Olher:

`l\\is iraurama is provided by one or mae ut the stock insurance companies which are members ot the ZuriehMlerican tmuranx:e Gro.zp. me many that
provides coverage is designated on each Cnvemgo Pan Gummen Dectaratims. The economy or companies providing this insurameimay be misrred lo ln
this policy as 'The Compmy'. we. us. er our. Tho address dtha companirsd tha Zuridi»Arneriean insurance G!oup arc provided on tie mrt paga.

THlS POLlCY CONS|STS OF THE FQLLOWING COVERAGE(S):
BusINEss Au'roMoaILE _
issued by ZURICH AMRRICAN INSURANCE COMPANY

 

 

THiS PREM|UM MAY BE SUBJECT T0 AUDI¥. TOTAL l m
This premium does not include Taxes and Surcharges. SEE INS.Z.ALLW_.’NT SCHBD.JLE
am and Sureharges TOTAL

 

Form(s) and Endorsement(s) made apart of this policy al time of issue eve listed on the SCHEDULE at FOHMS end
ENDORSEMENTS.

Countersigned this day of

 

 

Aumonzed ibpmsomaove

 

 

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FORMS AND ENDOFBEMENTS. \F ANY. i§UED TO R)RM A FAF¥TTHEREDF. COMFLE\'E THE ABOVE NUMBEHED FOLiC¥.

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Important Notice - ln Witness Clause ZURlCH'

in return lot the payment ol premium. and subject lo the terms ot this poiioy. coverage ls provided as stated in this
poii<:y.

iN WITNESS WHE:\EOF. this Company has executed and attested these presents and, where required by iaw, has
caused this policy to be countersigned by its duly Aulhorlzed Representative(s). '

`77¢£¢»¢<4 D.Y)ytu,l/lei ;YW_TQ;<M__. ’ .

!

Presio'ent Corporate Seeretary j

 

 

QUESTiONS ABOUT YOUR lNSUFiANCE? You' agent or broker is besl equipped to provide intornutlion about your
insurance Shouldyou require additional information or assistance in. resolving a compialnt. caller write to the following
(please have your policy or claim number ready):

Zurich in North Ameriw
Customer inquiry Cenier
1299 Zurich Way
Schaumburg, illinois 60196-1056
1-800-382-2150 (Business Hours: Bam - 4pm lCTI)
Ermil: inlo.source@zurichna.com

 

 

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,t POU_C¥ NUMEER: BAP 42814,54-01..…;.`-..-COND1EHC|ALAUTO .

ZURICH AMERICAN INSURANCE COMPANY

1299 Zurioh Way
Schaumvurg, ltdno§s 60196-1056
1-800-382-2150

BustNEss AuTo DEct_AFt`ATtoNs

ITEM ONE

 

PRODUCER:
MARS!I RISK & INSL"R.ANCE SE`.RVICES

 

 

NAMED lNSURED: LYF‘I , ZNC . ,
(SEE NAMBD INSURED ENDCRSEMEN'].`)

MA|L|NG ADDFESS: l 8 5 BERR‘.' S T

SUI 'I'E 50 00

SAN FR.ANCISCG, CA 941 07~~ 5705
POL|CY PEFthD: From -1 0-0 l -2 01 5 to 1 0~0 1 - 29 l 7 at 1201 A.M. Standard Tirre at your

mailing address shown above

PREVIOUS POLICY NUMBER: BAP 4 2 8 1454- 00

Fortu oF austNEss:
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|:]PARrNEnsHtP |:]ortien

 

|N RE!'URN FOR THE PA¥MENT OF THE PF\EM|UM, AND SUBJECT TO ALL THE TEHMS OF TH|S FOL!CY,
WE AG?EE WITH YOU TO PROV|DE THE |NSURANCE AS STATED IN TH|S POL|CY.

 

 

 

 

 

Premium shown is payabie at lnceplion: l
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7 ANNUALLY

 

 

 

 

 

 

 

ENDORSEMENTS AT\'ACHED TO TH\S PCUC‘I:
IL m 17 -Common Policy Conditions (lL 01 46|n Washington)
lt. ill 21 -Broad Forrn Nuclear Exclusion (not Appiimble in New Yotk) (tL 01 gain Washington)

SEE SCHEDULE OF FORMS AND ENDO$BEMENTS

couNTERstGNEo ` BY _,
(Dale) (Aulhorized Representalive)

 

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Schedub ()t Cowrragos And Cmrened Autos

This policy provides only those coverages where a charge is shown in the premium column bciow. Each ol these
coverages witt apply only to those ‘autos‘ shown as covered “autos". 'Autos" are shown as covered 'autos" tor a
particular coverage by the entry ut one or more 01 the symbols from the Covered Atttos section ot the Businees
Auto Coverage Form next to the name ot the coverage

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PFlOTECTION (or equivalent ENDORSEMENT
Added No-t‘ault Coveragc) _ `
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FOR EACH ACC|DEN'l`.
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]ERROD PAUL, P.A.

 

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jerrod@jerrodpaul.com Orlando, FL 32801 7 Fax: (855) 862-6872
Christina E. Bisset, Esq. ]errodPaul.com

christina@jerrodpaul.cont
~March 29, 2018 ~

VlA CERT]`IFIED MAIL
Department of Financial Services
200 East Gaines Strect

' Tanahassee, FL 32399

To whom it may concem:

Enclosed please find a ~copy of the Complaint and Summons to be served on Zurich
American Insurance Company. The check t'or payment of` the 315.00 service fee has been included
with this correspondence, along with a self-addressed stamped envelope for return of service.
Thank you for your attention to this matter.

Sincerely,

Christina E. Bisset

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Personal Injury ~ Negligent Security o lnsurattce C|aims » Family Law

